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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)
(Page 2)
                                                                              Return
Case No.:                                 Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                          Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                 Executing officer’s signature


                                                                                                    Printed name and title
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                             Attachment A-2

PERSON TO BE SEARCHED

The person to be searched, and the property that is on this

person, is identified as Ricardo JAIME, date of birth October

26, 1961, California driver’s license number F3563337, and any

property including digital devices on his person, including but

not limited to, any pockets in his clothing, and any bags or

containers carried or held by him, provided that he is located

within the Central District of California at the time of the

search.




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                              ATTACHMENT B

ITEMS TO BE SEIZED

     1.      The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C.

§ 2252A(a)(2)(A) and (b)(1) (receipt or distribution of child

pornography); and 18 U.S.C. § 2252A(a)(5)(B) and (b)(2)

(possession of and access with intent to view child pornography)

(the “Subject Offenses”), namely:

             a.   Child pornography, as defined in 18 U.S.C.

§ 2256(8).

             b.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer to child pornography, as defined in 18 U.S.C.

§ 2256(8), including but not limited to documents that refer to

the possession, receipt, distribution, transmission,

reproduction, viewing, sharing, purchase, or downloading,

production, shipment, order, requesting, trade, or transaction

of any kind, involving child pornography.

             c.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

and also including but not limited to financial records, tending

to identify persons involved in the possession, receipt,

distribution, transmission, reproduction, viewing, sharing,

purchase, or downloading, production, shipment, order,

requesting, trade, or transaction of any kind, involving child

pornography, as defined in 18 U.S.C. § 2256.




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           d.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer or relate to any production, receipt, shipment,

order, request, trade, purchase, or transaction of any kind

involving the transmission through interstate commerce by any

means, including by computer, of any visual depiction of a minor

engaged in sexually explicit conduct, as defined in 18 U.S.C.

§ 2256.

           e.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

identifying persons transmitting in interstate commerce,

including by computer, any visual depiction of a minor engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

           f.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that identify any minor visually depicted while engaging in

sexually explicit conduct, as defined in 18 U.S.C. § 2256.

           g.    Any and all records, documents, programs,

applications, or materials or items which are sexually arousing

to individuals who are interested in minors, but which are not

in and of themselves obscene or which do not necessarily depict

minors involved in sexually explicit conduct.         Such material is

commonly known as “child erotica” and includes written materials

dealing with child development, sex education, child

pornography, sexual abuse of children, incest, child

prostitution, missing children, investigative techniques of




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child exploitation, sexual disorders, pedophilia, nudist

publications, diaries, and fantasy writings.

           h.    Any records, documents, programs, applications,

or materials identifying possible minor victims depicted in

child pornography and/or minor victims of sexual abuse.

           i.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to peer-to-peer file sharing software.

           j.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to accounts with any Internet Service Provider.

           k.    Any records, documents, programs, applications,

materials, and files relating to IP address 66.215.21.70,

97.90.129.151 and 97.93.21.87.

           l.    Records, documents, programs, applications,

materials, and files relating to the deletion, uploading, and/or

acquisition of victim files to include photographs, videos, e-

mails, chat logs, or other files.

           m.    Any digital device used to facilitate the above-

listed violations and forensic copies thereof.

           n.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

           o.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:




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                 i.      evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser



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history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.    As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

     3.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

SEARCH PROCEDURE FOR DIGITAL DEVICES

     4.    In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:



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           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool



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Kit), which tools may use hashing and other sophisticated

techniques, including to search for known images of child

pornography.

                 iv.   The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           c.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           d.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           e.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           f.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been



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able to fully search a device because the device or files

contained therein is/are encrypted.

             g.   After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

        5.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offenses listed above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;

             d.   Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

             e.   Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

             f.   Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and




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           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

      6.   During the execution of this search warrant, with

respect to JAIME, who is located at the SUBJECT PREMISES or

SUBJECT VEHICLE during the execution of the search and who is

reasonably believed by law enforcement to be a user of a

biometric sensor-enabled device that falls within the scope of

the warrant, law enforcement personnel are authorized to: (1)

depress the thumb- and/or fingerprints of the person onto the

fingerprint sensor of the device (only when the device has such

a sensor), and direct which specific finger(s) and/or thumb(s)

shall be depressed; and (2) hold the device in front of the face

of the person with his or her eyes open to activate the facial-,

iris-, or retina-recognition feature, in order to gain access to

the contents of any such device.       In depressing a person’s thumb

or finger onto a device and in holding a device in front of a

person’s face, law enforcement may not use excessive force, as

defined in Graham v. Connor, 490 U.S. 386 (1989); specifically,

law enforcement may use no more than objectively reasonable

force in light of the facts and circumstances confronting them.

      7.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices


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pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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